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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 PAUL NICOLETTI,

                Petitioner,
                                                              Civil Action No. 5:23-CV-120
                       v.                                     (BAILEY)

 M.J. BAYLESS,

                Respondent.

           REPLY IN SUPPORT OF RESPONDENT’S MOTION TO DISMISS,
          OR IN THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT

        Comes now, the Respondent, by and through undersigned counsel, and files this Reply in

 support of its Motion to Dismiss or in the alternative Motion for Summary Judgment.

        In his Response, Petitioner claims that he was “unjustly denied the rate of 15 days per thirty

 day time period, for more than five months and three weeks…between the dates of March 27, 2022

 and…October 7, 2021.” Doc. 22 at 2. Therein, Petitioner misrepresents the term “consecutive

 assessment period” by relying upon “Male Pattern Risk Scoring” documents. See Docs. 22-1, 22-

 2. These “scoring” documents do not reflect the beginning or end of an assessment period. See

 Exhibit 1, Declaration of Susan Giddings at ¶ 7.

        The declarant, Ms. Giddings, is employed by the Federal Bureau of Prisons as the Chief of

 the Unit Management Section of the Correctional Programs Branch (CPB), which is organized

 under the Correctional Programs Division (CPD) in the BOP’s Central Office located in

 Washington, D.C. See id. at ¶ 1. Ms. Giddings oversees the implementation of the First Step Act’s

 (FSA) application of Earned Time Credits (Time Credits) for all inmates in BOP custody, and, as

 part of her duties, has access to the computerized records of all inmates, including their Risk and

 Needs Assessments. See id. at ¶ 2.


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        FSA assessments and reassessments are automated and conducted independently in

 accordance with the initial classification and Program Review timelines as outlined in policy and

 rules language. See id. at ¶ 4. An inmate’s initial FSA assessment is conducted 28 days after the

 inmate’s arrival at his or her initially designated facility with subsequent FSA reassessments

 conducted every 90 or 180 days based on the inmate’s projected release date. See id. Here,

 Petitioner’s initial assessment period, according to the BOP’s FSA Time Credit Assessment, began

 on August 31, 2021 and ended on September 28, 2021. See id. at Attachment A. His second

 assessment period began on September 28, 2021 and ended on March 27, 2022. See id.

        Petitioner therefore began earning 15 days of Time Credits for every 30 days of successful

 participation in programming beginning March 27, 2022 – only after he maintained his minimum

 risk level for two consecutive assessment periods. See id. at ¶ 6. This was following his initial 28

 day review and 180 day review. See id. Again, the “scoring” documents [Docs. 22-1, 22-2] relied

 upon by Petitioner do not reflect the beginning or end of an assessment period. See id. at ¶ 7

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                               CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that, on the 27th day of June, 2023, a true and accurate copy of

 REPLY IN SUPPORT OF RESPONDENT’S MOTION TO DISMISS, OR IN THE

 ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT was furnished for delivery to the

 below non-CM/ECF participant via U. S. mail to:


 PAUL NICOLETTI
 Register Number: 55819-039
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 FEDERAL CORRECTIONAL INSTITUTION
 P.O. BOX 1000
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                                By:                /s/ Maximillian F. Nogay




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